Case: 4:18-cv-01701-AGF Doc. #: 67 Filed: 09/24/21 Page: 1 of 2 PageID #: 8816




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

PAMELA BUTLER,                                 )
                                               )
            Plaintiffs,                        )
                                               )
      vs.                                      )        Case No. 4:18-cv-01701-AGF
                                               )
MALLINCKRODT LLC, et al.,                      )        Lead Case
                                               )
            Defendants.                        )


            CASE MANAGEMENT ORDER NO. 4 REGARDING
       BUTLER v. MALLINCKRODT LLC, NO. 4:18-CV-01701-AGF, ET AL.

       In accordance with the parties’ Joint Notice Regarding Individual Discovery (ECF

No. 66), in which the parties state that they have agreed to delay individual discovery

until after the resolution of common issues,

       IT IS HEREBY ORDERED that the following amended schedule shall apply in

these cases:

          1.       Daubert motions with respect to common issues have already been
filed, and the deadline to file responses has been extended. Responses are currently due
no later than September 29, 2021, and any reply shall be filed within 14 days of any
response (and no later than October 13, 2021). Daubert motions and responses thereto
may be up to 25 pages in length.

            2.    Any motions for summary judgment or motions for judgment on the
pleadings with respect to common issues must be filed within 21 days of the ruling on
the last Daubert motion, if not filed sooner. Responses shall be filed within 28 days of
any motions, and any reply shall be filed within 14 days of any response.

            3.   After the Court rules on dispositive motions on common issues, it will
transfer any remaining cases back to the original judge(s) for individual discovery;
Daubert and dispositive motions on individual issues, including damages; and/or for
 Case: 4:18-cv-01701-AGF Doc. #: 67 Filed: 09/24/21 Page: 2 of 2 PageID #: 8817




trial.

         Except as modified herein, the previous Case Management Order entered by the

Court shall remain in effect.




                                             AUDREY G. FLEISSIG
                                             UNITED STATES DISTRICT JUDGE
Dated this 24th day of September, 2021.




                                            2
